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                                                      16
                                                                                    IN THE UNITED STATES DISTRICT COURT
                                                      17
                                                                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                      18
                                                            JOHN WILLIAMS, ROBERT VOGEL,                        Case Number: 3:22-cv-01274
                                                      19    SHEANNA ROGERS, MICHAEL LOEB,
                                                            JAQUELINE WATSON-BAKER, and
                                                      20                                                        PLAINTIFFS’ AND PETITIONERS’
                                                            HOUSING PROVIDERS OF AMERICA, a                     COMBINED REPLY IN SUPPORT
                                                      21    501(c)(4) non-profit Corporation,                   OF RULE 56 MOTION ON BIFURCATED
                                                                                                                CLAIMS
                                                      22     Plaintiffs and Petitioners,
                                                      23                                                        Date: September 29, 2022
                                                                   vs.
                                                                                                                Time: 9:30 a.m.
                                                      24                                                        Dept: Courtroom B, 15th Flr
                                                            ALAMEDA COUNTY, ALAMEDA                             Judge: Hon. Laurel Beeler
                                                      25    COUNTY BOARD OF SUPERVISORS,
                                                            CITY OF OAKLAND, OAKLAND CITY                       Complaint filed March 1, 2022
                                                      26
                                                            COUNCIL and DOES 1-10,
                                                      27
                                                                  Defendants and Respondents.
                                                      28

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                                                             I.      INTRODUCTION
                                                      1
                                                                  The Supreme Court has already said what it thinks about eviction moratoriums.
                                                      2
                                                                    In Alabama Association of Realtors v. HHS, the issue was whether the CDC had the authority
                                                      3
                                                           to impose a national eviction moratorium. In holding to the contrary, the Court instructed that
                                                      4
                                                           “preventing [owners] from evicting tenants who breach their leases intrudes on one of the most
                                                      5
                                                           fundamental elements of property ownership—the right to exclude.” 141 S. Ct. 2485, 2489 (2021)
                                                      6
                                                           (per curiam) citing Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 435 (1982). The
                                                      7
                                                           Court did not equivocate, nor cite to Yee v. Escondido as a potential escape valve.
                                                      8
                                                                    Accordingly, for the Defendants and Intervenor to prevail they must show why an eviction
                                                      9
                                                           moratorium is not a physical taking, when the Supreme Court clearly thinks that it is. And they must
                                                      10
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                                                           also show why Yee applies, when the Supreme Court clearly thinks that it does not. In this, the
                                                      11
                                                           Opposition arguments fail to persuade.
                                                      12
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                                                                    The Defendants and Intervenor also face additional Supreme Court roadblocks that must be
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                                                      13
                                                           addressed and resolved in order to reach the result that they seek.
                                                      14
                                                                    They allege that because their eviction regulations (“eviction regulations” or “Moratoria”)
                                                      15
                                                           are temporary, they are immune from a physical takings claim. But that is in direct contradiction
                                                      16
                                                           with the Supreme Court in Cedar Point. The Court plainly stated that “a physical appropriation is a
                                                      17
                                                           taking whether it is permanent or temporary…. The duration of an appropriation—just like the size
                                                      18
                                                           of an appropriation—bears only on the amount of compensation.” Cedar Point Nursery v. Hassid,
                                                      19
                                                           141 S. Ct. 2063 (2021).
                                                      20
                                                                    They assert that when an owner decides to rent, nothing that happens afterward can be a
                                                      21
                                                           physical taking. According to Defendants and Intervenor, the owner has voluntarily ceded those
                                                      22
                                                           rights. But, again, the Supreme Court disagrees. In Loretto, the Court specifically stated that “a
                                                      23
                                                           landlord’s ability to rent his property may not be conditioned on his forfeiting the right to
                                                      24
                                                           compensation for a physical occupation.” Loretto, 458 U.S. at 439 n.17.
                                                      25
                                                                    Nor can the Governments’ granting of physical possession to a tenant be considered a mere
                                                      26
                                                           adjustment of the owner-tenant relationship. Borrowing again from Cedar Point, such a construction
                                                      27
                                                           “is to use words in a manner that deprives them of all their ordinary meaning” 141 S. Ct. at 2075.
                                                      28

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                                                       1            The Defendants’ eviction regulations are a facial unconstitutional physical taking and
                                                       2 contrary to the Fifth Amendment. Upon enactment, the regulations vested the right to possess and
                                                       3 exclude in Defendants for all Oakland and Alameda County rental properties; and with that
                                                       4 appropriated property right, Defendants then granted possession to all occupants. This transfer of
                                                       5 one of the fundamental rights of ownership was self-executing and automatically attached to all
                                                       6 rental properties. The owner’s consent, and the tenant’s compliance with the lease and the laws
                                                       7 governing tenancies, became irrelevant. And because the regulations that vested possession and
                                                       8 control contain no provision for just compensation, it is facially unconstitutional.
                                                       9            Defendants’ and Intervenor’s other opposition arguments fare no better. Defendants argue
                                                      10 that the Acts do not preempt the Moratoria because those regulations are “more protective” than
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                                                      11 those Acts. But the express purpose of the Acts, and their incorporation of Cal. Civ. Code section
                                                      12 1946.2, was to create a reasonable balance between protecting housing providers and renters alike.
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                                                      13 The Moratoria completely upend that balance in favor of Defendants’ own unjustified local agendas,
                                                      14 thereby coming into direct and irreconcilable conflict with those laws.
                                                      15            Defendant Alameda County (“COUNTY”) also makes the spurious claim that the
                                                      16 California Election Code does not apply to it. It is incorrect. The COUNTY’s eviction regulations
                                                      17 plainly amend the voter-enacted Oakland Rent and Eviction Control Ordinance in violation of
                                                      18 California law, by invalidating that ordinance all together. Defendant City of Oakland (“CITY”)
                                                      19 asserts that its eviction regulations are within the scope of permissible amendment. But the CITY
                                                      20 fails to address its own counsel’s recitation of that scope. It is narrow, and the CITY’s moratorium
                                                      21 eviscerating its Rent and Eviction Control Ordinance far exceeds the powers granted to the CITY by
                                                      22 its voters.
                                                      23            Finally, Defendants and Intervenors fall short of distinguishing the due process violations
                                                      24 identified in a similar regulation by the Supreme Court in Chrysafis v. Marks, 141 S.Ct. 2482 (2021).
                                                      25 In fact, the due process violations here are tenfold worse; the Moratoria permit renters to assert an
                                                      26 “absolute defense” to virtually all evictions, thereby unlawfully allowing them to be the “judge” in
                                                      27 their own case.
                                                      28            For these reasons as are further detailed below, the motion should be granted.

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                                                             II.      REPLY ARGUMENT
                                                       1
                                                                   A. The Eviction Regulations Are a Physical Taking.
                                                       2
                                                                      The Defendants’ eviction regulations vested the right to possess and exclude in Defendants,
                                                       3
                                                           who, in turn, granted possession indefinitely to all occupants regardless of the owner’s consent, the
                                                       4
                                                           tenant’s payment of rent, or the material breach of the lease. See Docket No. 62 at Exhibits D, E, G
                                                       5
                                                           and H. From the perspective of a rental property owner, if you have no control over the possession
                                                       6
                                                           of your own property, it is a compelled occupation.
                                                       7
                                                                    And because this physical taking of possession contains no provision for just compensation,
                                                       8
                                                           it is contrary to the Fifth Amendment on its face. Alabama Ass’n of Realtors, 141 S. Ct. 2485. “The
                                                       9
                                                           government does not have unlimited power to redefine property rights.” Loretto, 458 U.S. at 439,
                                                      10
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                                                           citing Webb’s Fabulous Pharmacies, Inc. v. Beckwith, 449 U.S. 155, 164 (1980) (“a State, by ipse
                                                      11
                                                           dixit, may not transform private property into public property without compensation”).
                                                      12
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                                                                     1. Yee, and the Opposition Arguments Based on Yee, Do Not Apply.
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                                                      13            The Defendants and Intervenor rely heavily on Yee v. Escondido and from that case, draw
                                                      14 upon several factors which they allege are determinative. They contend that because the ongoing
                                                      15 eviction prohibition is “temporary,” there can be no physical taking. Furthermore, Defendants and
                                                      16 Intervenor assert that the act of leasing to a tenant precludes a subsequent physical takings claim
                                                      17 regardless of the circumstances. Lastly, that the taking of the right to possess and exclude is a mere
                                                      18 adjustment to the owner-tenant relationship. However, these factors that the Defendants and
                                                      19 Intervenor attribute to Yee, a rent control case at heart, are not applicable.
                                                      20                  a.   A Temporary Physical Taking Is Still a Physical Taking.
                                                      21            In various ways, Defendants and Intervenor all point to the fact that the eviction regulations
                                                      22 are temporary as means to escape constitutional liability. However, that distinction is legally
                                                      23 irrelevant.
                                                      24            In Cedar Point, the Supreme Court held that a temporary physical taking is on equal footing
                                                      25 with a permanent one. The duration of the regulation impacts damages, not constitutionality. Cedar
                                                      26 Point Nursery, 141 S. Ct. at 2074 (“To begin with, we have held that a physical appropriation is a
                                                      27 taking whether it is permanent or temporary. Our cases establish that ‘compensation is mandated
                                                      28 when a leasehold is taken and the government occupies property for its own purposes, even though

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                                                       1 that use is temporary.’ The duration of an appropriation—just like the size of an appropriation—
                                                       2 bears only on the amount of compensation.”) (citations omitted).
                                                       3          Likewise, in Arkansas Game & Fish Commission v. United States, the Court took note of
                                                       4 certain temporary physical takings that arose from World War II: “Our decisions confirm that takings
                                                       5 temporary in duration can be compensable. This principle was solidly established in the World War
                                                       6 II era when condemnation for indefinite periods of occupancy took hold as a practical response to
                                                       7 the uncertainties of the Government's needs in wartime. In support of the war effort, the Government
                                                       8 took temporary possession of many properties. These exercises of government authority, the Court
                                                       9 recognized, qualified as compensable temporary takings.” 568 U.S. 23, 32–33 (2012) (citing to
                                                      10 United States v. Pewee Coal Co., 341 U.S. 114 (1951); Kimball Laundry Co. v. United States, 338
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                                                      11 U.S. 1 (1949); and United States v. General Motors Corp., 323 U.S. 373 (1945)).
                                                      12
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                                                                  “Ever since, we have rejected the argument that government action must be permanent to
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                                                      13 qualify as a taking. Once the government’s actions have worked a taking of property, no subsequent
                                                      14 action by the government can relieve it of the duty to provide compensation for the period during
                                                      15 which the taking was effective.” Id. at 33.
                                                      16          In First English Evangelical Lutheran Church of Glendale v. Los Angeles County, the
                                                      17 Supreme Court also found that an interim, temporary local ordinance was a compensable taking.
                                                      18 482 U.S. 304, 318–19 (1987) (“These cases reflect the fact that temporary takings which, as here,
                                                      19 deny a landowner all use of his property, are not different in kind from permanent takings, for which
                                                      20 the Constitution clearly requires compensation.”) (citing cases).
                                                      21          Accordingly, the temporary versus permanent distinction has no relevance here.
                                                      22          From a factual perspective, it is also worth noting that the temporariness of the eviction
                                                      23 regulations is not the certainty that Defendants portray.
                                                      24          The parameters under which the Defendants can continue the Local Emergency are broad
                                                      25 and ill-defined, tantamount to near unilateral control. See Docket No. 62, at Exhibits C and F. The
                                                      26 regulations also have no formal end date and may continue as far into the future as the Defendants
                                                      27 wish. See Docket No. 62 at Exhibits D, E, G and H. Under these circumstances, the bridge from a
                                                      28 temporary regulation to a permanent one is a short one. Indeed, several of the “temporary” rent-

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                                                       1 control regulations enacted to address housing shortages at the end of World War I are still in place
                                                       2 a century later. See Block & Hirsh, 256 U.S. 135 (1921) and Levy Leasing Co. v. Siegel, 258 U.S.
                                                       3 242 (1922).
                                                       4          To that end, Plaintiffs have submitted for Judicial Notice an item from the County of
                                                       5 Alameda’s Board of Supervisors meeting of July 19, 2022. See Docket Nos. 66 and 69. At that
                                                       6 meeting, Supervisor and Vice President of the Board Nate Miley stated that “I, for one, feel the
                                                       7 ordinance [sic] county counsel might not want to hear me say this, but I feel it’s unconstitutional. I
                                                       8 think it’s a taking of property. We don’t have the legal authority to restrict property owners in this
                                                       9 type of draconian measure.” See Docket No. 66, Exhibit V, transcript page 54, lines 4–9.
                                                      10 Nonetheless, the County Supervisors voted not to discuss the “temporary” eviction moratorium on
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                                                      11 a future agenda. See Docket Nos. 66 and 69. This effectively leaves the regulation in place
                                                      12 indefinitely. Putting this in perspective, the County’s eviction regulation is not a physical taking
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                                                      13 simply because Supervisor Miley believes it to be so. But in the face of his comments, the fact that
                                                      14 the Defendant County Board of Supervisors then declined to even discuss the regulation as a future
                                                      15 agenda item suggests that it is far closer to permanent than temporary.
                                                      16
                                                                        b. The Act of Renting Does Not Waive a Future Physical Takings Claim.
                                                      17
                                                                  The Defendants and Intervenor claim that no physical taking can occur because the owner,
                                                      18
                                                           at some point in the past, decided to voluntarily rent to a tenant. However, the use of one property
                                                      19
                                                           right cannot be conditioned upon the waiver of a different property right.
                                                      20
                                                                  The Supreme Court has made clear that the government cannot condition the right to lease
                                                      21
                                                           real property upon waiver of the right to exclude. As Loretto stated, “[a] landlord’s ability to rent
                                                      22
                                                           his property may not be conditioned on his forfeiting the right to compensation for a physical
                                                      23
                                                           occupation.” Loretto, 458 U.S. at 439 n.17; Horne v. Dep’t of Agric., 576 U.S. 350, 364–65 (2015)
                                                      24
                                                           (“The third question presented asks ‘Whether a governmental mandate to relinquish specific,
                                                      25
                                                           identifiable property as a ‘condition’ on permission to engage in commerce effects a per se taking.’
                                                      26
                                                           The answer, at least in this case, is yes. The Government contends that the reserve requirement is
                                                      27
                                                           not a taking because raisin growers voluntarily choose to participate in the raisin market. According
                                                      28

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                                                       1 to the Government, if raisin growers don’t like it, they can ‘plant different crops,’ or ‘sell their raisin-
                                                       2 variety grapes as table grapes or for use in juice or wine.’ ‘Let them sell wine’ is probably not much
                                                       3 more comforting to the raisin growers than similar retorts have been to others throughout history. In
                                                       4 any event, the Government is wrong as a matter of law…. property rights ‘cannot be so easily
                                                       5 manipulated.’”).
                                                       6          Accordingly, the act of allowing a tenant to take possession at lease signing does not waive
                                                       7 all future claims that a physical taking has occurred. A tenant’s occupancy is temporary and
                                                       8 conditional. If it weren’t, it would not be a lease. And in leasing, a property owner does not grant
                                                       9 the tenant a permanent or indefinite right to possess and exclude.
                                                      10          To hold otherwise is to disregard the legal rights of the present for the legal rights of the past.
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                                                      11          In the past, at lease signing, the owner had the right to possess and exclude. The owner could
                                                      12 decide to rent and if the tenant violated the terms, the owner had the power and control to take
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                                                      13 possession and exclude the tenant.
                                                      14          But in the present, those owner’s rights no longer exist. The owner’s right to possess and
                                                      15 exclude have been appropriated by the Defendants. The owner’s consent to the tenant’s possession
                                                      16 is now irrelevant, replaced by the Defendants’ regulations which permit occupancy irrespective of
                                                      17 the payment of rent or adherence to the lease.
                                                      18          Put differently, the owner’s “voluntariness” is moot because the owner could not exercise
                                                      19 the right to possess or exclude even if he or she wanted to.
                                                      20          The Defendants’ and Intervenor’s focus on whether the occupants are “tenants,” “strangers”
                                                      21 or “intruders” also misses the key point. It is not about the classification of the occupant but the
                                                      22 taking of the property right.
                                                      23          For example, assume that a government entity invaded private property without the owner’s
                                                      24 consent, demolished a structure, and then erected a government-run Covid-19 testing site. Clearly,
                                                      25 that is a physical taking. And the inevitable finding that this act was a constitutional violation does
                                                      26 not depend on whether the property was commercial, residential, or industrial. Nor does it depend
                                                      27 on whether the evicted occupants were owners, tenants, sub-tenants, licensees, or squatters.
                                                      28

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                                                       1           In other words, whether or not there was an unconstitutional physical taking is based upon
                                                       2 the act. A Fifth Amendment violation occurs when the government takes a property right without
                                                       3 the payment of just compensation. Who was impacted by that act, and how, determines the measure
                                                       4 of damages, not the vesting of the property right.
                                                       5           Here, the regulations vested in Defendants the right to possess and exclude for all rental
                                                       6 properties. That it impacts rental property owners and tenants is simply the product of which type
                                                       7 of property the vesting applies to. But who it impacts does not obviate the fact that a property right
                                                       8 was taken in the first place.
                                                       9
                                                                         c. The Defendants’ Grant of Physical Possession Is Not a Mere Adjustment of
                                                      10                    the Landlord-Tenant Relationship.
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                                                      11     The eviction regulations do not adjust how much rent is to be paid or pertain to issues of notice or

                                                      12 timetables. They are an outright taking possession and control. They preclude owners from
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                                                      13 possessing their property for an indefinite period, subject only to the Defendants’ discretion.
                                                      14           Physical takings of an owner’s rights to possess and exclude violate “one of the most

                                                      15 treasured rights of property ownership” and “one of the most essential sticks in the bundle of rights
                                                      16 that are commonly characterized as property.” Cedar Point Nursery, 141 S. Ct. at 2072. It is
                                                      17 “perhaps the most serious form of invasion of an owner’s property interests.” Loretto, 458 U.S. at
                                                      18 435.
                                                      19           Thus, as the Court similarly stated in Cedar Point, “[s]aying that appropriation of a three

                                                      20 hour per day, 120 day per year right to invade the growers’ premises ‘does not constitute a taking of
                                                      21 a property interest but rather . . . a mere restriction on its use, is to use words in a manner that deprives
                                                      22 them of all their ordinary meaning.’” Cedar Point Nursery, 141 S. Ct. at 2075; quoting Nollan v.
                                                      23 California Coastal Comm’n, 483 U.S. 825, 831 (1987) (“To say that the appropriation of a public
                                                      24 easement across a landowner’s premises does not constitute the taking of a property interest but
                                                      25 rather a mere restriction on its use is to use words in a manner that deprives them of all their ordinary
                                                      26 meaning.”); see Horne, 576 U.S. at 364–65 (2015) (the government cannot manipulate an owner’s
                                                      27 property rights by contending that a physical taking linked to a particular property use is not a
                                                      28 physical taking).

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                                                      1            Therefore,
                                                      2
                                                                     We cannot agree that the right to exclude is an empty formality, subject to
                                                      3              modification at the government’s pleasure. On the contrary, it is a fundamental
                                                                     element of the property right, that cannot be balanced away. Our cases establish
                                                      4              that appropriations of a right to invade are per se physical takings, not use
                                                                     restrictions subject to Penn Central…. And while Kaiser Aetna may have referred
                                                      5
                                                                     to the test from Penn Central, the Court concluded categorically that the
                                                      6              government must pay just compensation for physical invasions…. With regard to
                                                                     the complexities of modern society, we think they only reinforce the importance of
                                                      7              safeguarding the basic property rights that help preserve individual liberty, as the
                                                      8              Founders explained.
                                                           Cedar Point Nursery, 141 S. Ct. at 2077–78
                                                      9
                                                                         d. Yee Is Only Relevant to Rent Control Disputes.
                                                      10
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                                                                   The arguments of Defendants and Intervenor regarding voluntariness, the ostensibly
                                                      11
                                                           temporary nature of the regulations, and the “mere adjustment” of the owner-tenant relationship, all
                                                      12
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                                                           stem from their interpretation of Yee. But Yee is not a physical taking case. It is a rent control case
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                                                      13
                                                           and it has no place here.
                                                      14
                                                                   At issue in Yee v. City of Escondido was a local rent control ordinance that limited how much
                                                      15
                                                           a property owner could charge in rent for the land beneath tenants’ mobile homes. 503 U.S. 519
                                                      16
                                                           (1992) The Yees, who ran a mobile home park, argued that the rent cap was a regulatory taking.
                                                      17
                                                                   The owners did not object to the tenant’s occupancy or allege that a tenant failed to pay the
                                                      18
                                                           required rent, or that the tenant violated any of the material terms of the lease. Nor did the owners
                                                      19
                                                           seek to evict them. The principal dispute was about money and how the forced rent reduction
                                                      20
                                                           damaged the property owners.
                                                      21
                                                                   But undoing rent control is an uphill battle. Earlier cases had effectively foreclosed a claim
                                                      22
                                                           that a profitable use of property, albeit less so than the owner wanted, was an unconstitutional taking.
                                                      23
                                                           See e.g., F.C.C. v. Fla. Power Corp., 480 U.S. 245, 253 (1987); Loretto, 458 U.S. at 440.
                                                      24
                                                                   The owner’s proposed solution was a work-around, contending not that rent control devalued
                                                      25
                                                           their land, but that the regulation effected a physical taking of “a discrete interest in land — the right
                                                      26
                                                           to occupy land indefinitely at a submarket rent.” Yee, 503 U.S. at 527.
                                                      27
                                                      28

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                                                       1          The work-around did not succeed. The Court in Yee held that the physical taking doctrine
                                                       2 was not the correct theory to challenge a rent control regulation. Id. at 528. It also found that this
                                                       3 transfer of wealth (such that the rent control regulation made the tenant’s interest more valuable and
                                                       4 the owner’s interest less valuable) was not unconstitutional. Id. at 529.
                                                       5          “Ordinary rent control often transfers wealth from landlords to tenants by reducing the
                                                       6 landlords’ income and the tenants’ monthly payments, although it does not cause a one-time transfer
                                                       7 of value as occurs with mobile homes . . . . The mobile home owner’s ability to sell the mobile home
                                                       8 at a premium may make this wealth transfer more visible than in the ordinary case, but the existence
                                                       9 of the transfer in itself does not convert regulation into physical invasion.” Id. at 529–30.
                                                      10          Conversely, the Yee Court may have looked at things differently had the rent control statute
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                                                      11 precluded eviction. The Court noted, “[a] different case would be presented were the statute, on its
                                                      12 face or as applied, to compel a landowner over objection to rent his property or to refrain in
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                                                      13 perpetuity from terminating a tenancy.” Id., at 528. “Had the city required such an occupation, of
                                                      14 course, petitioners would have a right to compensation, and the city might then lack the power to
                                                      15 condition petitioners’ ability to run mobile home parks on their waiver of this right.” Id. at 531–32.
                                                      16          But this was not the case in Yee. The owners were free to evict the tenant on numerous
                                                      17 grounds. Id., at 524 (permissible reasons to evict included “the nonpayment of rent, the mobile home
                                                      18 owner's violation of law or park rules, and the park owner's desire to change the use of his land”);
                                                      19 id., at 527–28 (“[a]t least on the face of the regulatory scheme, neither the city nor the State compels
                                                      20 petitioners, once they have rented their property to tenants, to continue doing so”).
                                                      21          Accordingly, Yee is a rent control case and inapplicable to the Defendants’ taking of the right
                                                      22 to possess and exclude.
                                                      23          The Opposition’s argument to the contrary is largely based on one particular quote from Yee.
                                                      24 In discussing the rent control statute, the Court offered that it “does not convert regulation into the
                                                      25 unwanted physical occupation of land. Because they voluntarily open their property to occupation
                                                      26 by others, petitioners cannot assert a per se right to compensation based on their inability to exclude
                                                      27 particular individuals.” Id. at 531. The Defendants and Intervenor use that language to assert that
                                                      28

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                                                       1 because property owners voluntarily rented to tenants, they are foreclosed from asserting a physical
                                                       2 takings claim.
                                                       3            The fault in this argument lies in the separation of the quote from the context.
                                                       4            Besides limiting the amount of rent that could be charged, the statute also precluded a
                                                       5 property owner from disapproving of a mobile home tenant so long as the tenant had the ability to
                                                       6 pay the rent. Id. at 524. The owners complained that this improperly deprived them of the right to
                                                       7 choose their tenants.
                                                       8          But the statutory distinction between this case and Yee is that Escondido’s rent-control
                                                       9 ordinance left the owners with their right to evict tenants who failed to make rent, defaulted, or
                                                      10 otherwise violated the contractual terms. Id. at 524, 527–28. Nor did the owners allege that they
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                                                      11 had any cause for eviction or that they wished to withdraw their property from the rental business
                                                      12 altogether.
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                                                      13          A hypothetical shows the deficiency in the owners’ claim. Assume that Potential Tenant A
                                                      14 is a lease abiding, rent paying tenant. And that Potential Tenant B is also a lease abiding, rent paying
                                                      15 tenant. And that the owner wishes to remain in the rental business and will rent to one of them.
                                                      16          An ordinance that requires the owner to rent to Tenant A, because Tenant A was there first,
                                                      17 is not a physical taking. When the property is going to be rented regardless, and when the owner
                                                      18 retains the right to possess and to exclude should that tenant ever violate the lease or the law, an
                                                      19 ordinance directed only at the choice of tenant does not facially implicate the right to possess. This
                                                      20 was the context in which the Court stated, “because they voluntarily open their property to
                                                      21 occupation by others, petitioners cannot assert a per se right to compensation based on their inability
                                                      22 to exclude particular individuals.” Id. at 531.
                                                      23          But in the context of this case—where property owners have been affirmatively stripped of
                                                      24 the right to possess and exclude and are forced to submit to a tenant’s possession regardless of the
                                                      25 owner’s consent to continue renting, the expiration of the lease, or the tenant’s compliance with the
                                                      26 lease or the law—the above quote from Yee is inapplicable.
                                                      27          On a similar basis, the Defendants’ and Intervenor’s references to Florida Power and
                                                      28 Ballinger are unavailing. Florida Power was also a rent control case. There, certain utility

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                                                       1 companies voluntarily leased space on their poles to cable companies. F.C.C. v. Fla. Power Corp.,
                                                       2 480 U.S. at 247. The terms of the agreement were typical of such arrangements. Id. However, to
                                                       3 prevent overcharging due to the utility companies’ monopoly on utility poles, the Federal
                                                       4 Communications Commission established rent controls. Id. at 247–48. The Court held that these
                                                       5 rent control regulations were not a taking. Id. at 250–51.
                                                       6          As applicable here, the utility companies were free to divest themselves of the cable
                                                       7 companies’ use of their utility poles. “For, while the statute we considered in Loretto specifically
                                                       8 required landlords to permit permanent occupation of their property by cable companies, nothing in
                                                       9 the Pole Attachments Act . . . gives cable companies any right to occupy space on utility poles or
                                                      10 prohibits utility companies from refusing to enter into attachment agreements with cable operators.”
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                                                      11 Id. at 251.
                                                      12
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                                                                  Yet had forced physical occupation been required by law, the outcome may have been
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                                                      13 different. Id. at 252 n.6 (“We do not decide today what the application of [Loretto] would be if the
                                                      14 FCC in a future case required utilities, over objection, to enter into, renew, or refrain from
                                                      15 terminating pole attachment agreements.”).
                                                      16          In Ballinger, the central issue was not the taking of real property, but the taking of money.
                                                      17 Eviction was not precluded, nor were the owners prevented from taking possession of the real
                                                      18 property that they owned. Rather, the dispute pertained to a local statute that requires an owner to
                                                      19 pay certain relocation expenses to a tenant before the owner could move back into their home.
                                                      20 Ballinger v. City of Oakland, 24 F.4th 1287, 1290–91 (9th Cir. 2022), cert. denied sub nom.
                                                      21 Ballinger v. City of Oakland, California, 142 S. Ct. 2777 (2022). The court of appeals held that this
                                                      22 “transaction cost” was a permissible regulation of this owner-tenant relationship. Id. at 1293. The
                                                      23 owners did not have taken “a specific and identifiable pool of money,” id. at 1294, but instead were
                                                      24 required to pay what was akin to a tax or a user fee. Id. at 1296.
                                                      25          But what Ballinger did note was that the owners “voluntarily chose to lease their property
                                                      26 and to evict under the Ordinance—conduct that required them to pay the relocation fee, which they
                                                      27 would not be compelled to pay if they continued to rent their property. ‘A different case would be
                                                      28 presented were the statute, on its face or as applied, to compel a landowner over objection to rent his

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                                                       1 property or to refrain in perpetuity from terminating a tenancy.’” Id. at 1293–94 (quoting Yee, 503
                                                       2 U.S. at 528).
                                                       3            2. The Other Arguments in Opposition Are Unpersuasive.
                                                       4          The Defendants and Intervenor contend that the eviction regulations pertain to tenants, but
                                                       5 not squatters. That is not necessarily the case. If a tenant allows an unauthorized third-party to take
                                                       6 residence, that third-party can be considered an illegal squatter. So, too, can a tenant that refuses to
                                                       7 pay rent. But regardless of how the occupants are classified, the result remains a physical taking
                                                       8 with respect to rental properties. No matter which group of third parties the Governments grant
                                                       9 access, it is still a physical invasion. In Cedar Point, the physical taking only pertained to union
                                                      10 organizers and only for certain time periods. Cedar Point Nursery, 141 S. Ct. at 2069. In Loretto,
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                                                      11 the physical taking was respect to a cable from a cable company. Loretto, 458 U.S. at 421–22. And
                                                      12 in Causby, the physical invasion was by military aircraft. United States v. Causby, 328 U.S. 256,
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                                                      13 258 (1946). For each of these matters, the owner maintained the right to exclude for all but that one
                                                      14 specific group. Nevertheless, so long as “the government has physically taken property for itself or
                                                      15 someone else,” “a per se taking has occurred.” Cedar Point Nursery, 141 S. Ct. at 2072.
                                                      16          The Defendants and Intervenor cite to the 1921 Block case (Block v. Hirsh, 256 U.S. 135 )
                                                      17 and the Intervenor also specifically questioned why the Plaintiffs did not. This is because when the
                                                      18 Block case was decided, regulatory takings law had yet to be fully formed and Block does not meet
                                                      19 the current standard.
                                                      20          Mahon, which was issued one year later, is oft credited as the progenitor of our modern
                                                      21 jurisprudence with its famous (at least in regulatory takings circles) holding that “the general rule at
                                                      22 least is that while property may be regulated to a certain extent, if regulation goes too far it will be
                                                      23 recognized as a taking.” Pa. Coal Co. v. Mahon, 260 U.S. 393, 415 (1922). And with respect to the
                                                      24 law of regulatory takings, Mahon explicitly stated that Block “fell far short” of what was required:
                                                      25
                                                                    We are in danger of forgetting that a strong public desire to improve the public
                                                      26            condition is not enough to warrant achieving the desire by a shorter cut than the
                                                                    constitutional way of paying for the change. As we already have said this is a
                                                      27            question of degree-and therefore cannot be disposed of by general propositions. But
                                                                    we regard this as going beyond any of the cases decided by this Court. The late
                                                      28
                                                                    decisions upon laws dealing with the congestion of Washington and New York,
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                                                                    caused by the war, dealt with laws intended to meet a temporary emergency and
                                                       1
                                                                    providing for compensation determined to be reasonable by an impartial board.
                                                       2            They were to the verge of the law but fell far short of the present act. Block &
                                                                    Hirsh, 256 U. S. 135, 41 Sup. Ct. 458, 65 L. Ed. 865, 16 A. L. R. 165; Marcus
                                                       3            Brown Holding Co. v. Feldman, 256 U. S. 170, 41 Sup. Ct. 465, 65 L. Ed. 877;
                                                                    Levy Leasing Co. v. Siegel, 258 U. S. 242, 42 Sup. Ct. 289, 66 L. Ed. 595, March
                                                       4
                                                                    20, 1922.
                                                       5 Mahon, 260 U.S. at 415–16 (emph. add.).
                                                       6       Block, besides its shortcomings, is also primarily viewed as a rent control case, not a physical
                                                       7 takings case. Pennell v. City of San Jose, 485 U.S. 1, 12 (1988); Loretto, 458 U.S. at 440; Bowles
                                                       8 v. Willingham, 321 U.S. 503, 517 (1944). Moreover, because the Defendants’ regulations continue
                                                       9 with no end in sight and no defined parameters for when the Local Emergency will end, this matter
                                                      10 is outside of the purview of Block. Fresh Pond Shopping Ctr., Inc. v. Callahan, 464 U.S. 875 (1983)
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                                                      11 (Rehnquist, J., dissenting from dismissal of the appeal) (“It might also be argued that the rent control
                                                      12 provisions are justified by the emergency housing shortage in Cambridge, but the very fact that there
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                                                      13 is no foreseeable end to the emergency takes this case outside the Court’s holding in Block v.
                                                      14 Hirsh.”).
                                                      15          Contrary to the assertion of the Defendant County, the fact that rental property owners may
                                                      16 be able to retake possession under California’s Ellis Act does not obviate the fact that the regulations
                                                      17 are a physical taking. This issue was squarely addressed in Loretto. As the Court stated:
                                                      18
                                                                    Appellees raise a series of objections to application of the traditional rule here.
                                                      19            Teleprompter notes that the law applies only to buildings used as rental property,
                                                      20            and draws the conclusion that the law is simply a permissible regulation of the use
                                                                    of real property. We fail to see, however, why a physical occupation of one type of
                                                      21            property but not another type is any less a physical occupation. Insofar as
                                                                    Teleprompter means to suggest that this is not a permanent physical invasion, we
                                                      22            must differ. So long as the property remains residential and a CATV company
                                                      23            wishes to retain the installation, the landlord must permit it.
                                                           Loretto, 458 U.S. at 438–39.
                                                      24
                                                                  The Court continued:
                                                      25
                                                      26            It is true that the landlord could avoid the requirements of [the regulation] by
                                                                    ceasing to rent the building to tenants. But a landlord’s ability to rent his property
                                                      27            may not be conditioned on his forfeiting the right to compensation for a physical
                                                      28            occupation. Teleprompter’s broad “use-dependency” argument proves too much.

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                                                                    For example, it would allow the government to require a landlord to devote a
                                                       1
                                                                    substantial portion of his building to vending and washing machines, with all profits
                                                       2            to be retained by the owners of these services and with no compensation for the
                                                                    deprivation of space. It would even allow the government to requisition a certain
                                                       3            number of apartments as permanent government offices. The right of a property
                                                                    owner to exclude a stranger’s physical occupation of his land cannot be so easily
                                                       4
                                                                    manipulated.
                                                       5 Id. at 439; Horne, 576 U.S. at 365 (“The Government contends that the reserve requirement is not a
                                                       6 taking because raisin growers voluntarily choose to participate in the raisin market. According to the
                                                       7 Government, if raisin growers don’t like it, they can ‘plant different crops,’ or ‘sell their raisin-
                                                       8 variety grapes as table grapes or for use in juice or wine’…. the Government is wrong as a matter of
                                                       9 law…. As [Loretto] concluded, property rights cannot be so easily manipulated.”).
                                                      10       Intervenor ACCEA argues that a finding in Plaintiffs’ favor will negatively affect
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                                                      11 government’s ability to function in the future. See Opposition Brief of ACCEA at 19, et seq. It is
                                                      12 noteworthy that none of the Government Defendants make the same argument.
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                                                      13       Nonetheless, ACCEA’s concern for laws pertaining to eviction notice requirements is
                                                      14 unfounded. A reasonable notice requirement prior to eviction is not a physical taking. Nor is it
                                                      15 analogous to what is happening here. The Defendants’ eviction regulations do not delay evictions
                                                      16 for a reasonable and defined period; they preclude evictions for an indefinite and unknown timespan,
                                                      17 and at the sole discretion of the Defendants. Therein lies the difference.
                                                      18         Nor would a finding for Plaintiffs impact the Governments’ ability to respond to an
                                                      19 emergency. The Governments retain that power, as any government always will. The Plaintiffs’
                                                      20 position is simply that when the use of governmental power results in the taking of private property
                                                      21 without just compensation, it is obligated to pay. Lingle v. Chevron U.S.A. Inc., 544 U.S. 528 (2005)
                                                      22 (“As its text makes plain, the Takings Clause ‘does not prohibit the taking of private property, but
                                                      23 instead places a condition on the exercise of that power.’ In other words, it ‘is designed not to limit
                                                      24 the governmental interference with property rights per se, but rather to secure compensation in the
                                                      25 event of otherwise proper interference amounting to a taking.’”). In this way, “[t]he Fifth
                                                      26 Amendment’s guarantee that private property shall not be taken for a public use without just
                                                      27 compensation was designed to bar Government from forcing some people alone to bear public
                                                      28

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                                                       1 burdens which, in all fairness and justice, should be borne by the public as a whole.” Armstrong v.
                                                       2 United States, 364 U.S. 40, 49 (1960).
                                                       3          Therefore, as the Court poignantly stated in Arkansas Game & Fish,
                                                       4
                                                                    The slippery slope argument, we note, is hardly novel or unique to flooding cases.
                                                       5            Time and again in Takings Clause cases, the Court has heard the prophecy that
                                                                    recognizing a just compensation claim would unduly impede the government’s
                                                       6            ability to act in the public interest. Causby, 328 U.S., at 275, 66 S.Ct. 1062 (Black,
                                                                    J., dissenting); Loretto, 458 U.S., at 455, 102 S.Ct. 3164 (Blackmun, J., dissenting).
                                                       7
                                                                    We have rejected this argument when deployed to urge blanket exemptions from
                                                       8            the Fifth Amendment’s instruction. While we recognize the importance of the
                                                                    public interests the Government advances in this case, we do not see them as
                                                       9            categorically different from the interests at stake in myriad other Takings Clause
                                                      10            cases. The sky did not fall after Causby, and today’s modest decision augurs no
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                                                                    deluge of takings liability.
                                                      11 Ark. Game & Fish Comm’n, 568 U.S. at 36–37.
                                                      12
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                                                                Lastly, ACCEA misunderstands why the impact on rental property owners as a class is
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                                                      13 relevant to a facial claim. See Opposition Brief of ACCEA at 17, et seq. It has nothing to do with
                                                      14 Penn Central. Rather, the quintessence of a takings claim is that certain property owners are singled
                                                      15 out to bear a public burden. That is exactly what has happened to rental property owners, now a
                                                      16 disfavored class in the eyes of the Defendants. In addition to the loss of the right to possess and
                                                      17 exclude, the owner must also pay the mortgage, taxes and utilities and maintain the premises, even
                                                      18 if the occupants decline to pay rent or cause damage to the property. It is not about Penn Central
                                                      19 but recognizing that property owners are to be protected from shouldering the burden of public
                                                      20 benefits. Armstrong, 364 U.S. at 49.
                                                      21
                                                                    3. The Regulations are Facially Unconstitutional.
                                                      22
                                                                    The Defendants and Intervenor err in asserting that the eviction prohibitions are not facially
                                                      23
                                                           unconstitutional.
                                                      24
                                                                    A regulation is facially unconstitutional under the Fifth Amendment if it transfers a
                                                      25
                                                           property right from property owners to the Government without a provision for the payment of just
                                                      26
                                                           compensation. Guggenheim v. City of Goleta, 638 F.3d 1111, 1119 (9th Cir. 2010) (“[I]n the takings
                                                      27
                                                           context, the basis of a facial challenge is that the very enactment of the statute has reduced the value
                                                      28

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                                                       1 of the property or has effected a transfer of a property interest.”) (quoting Levald, Inc. v. City of
                                                       2 Palm Desert, 998 F.2d 680, 688 (9th Cir. 1993)).
                                                       3            Starting with the obvious, the Defendants’ regulations have no provision for just
                                                       4 compensation.
                                                       5            And with respect to the first part of the analysis, the right to possess and exclude vested in
                                                       6 Defendants for all rental properties upon the enactment of the Defendants’ regulations. The transfer
                                                       7 of ownership and control were self-executing. Apart from the regulations’ enaction, nothing was
                                                       8 else required.
                                                       9          Tantamount to an easement (or tenancy in common), the regulations endowed the Defendants
                                                      10 with control over who may possess rental property and who may be excluded from it. Conversely,
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                                                      11 the property owner’s consent, the lease, and the law of unlawful detainer, are now irrelevant.
                                                      12
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                                                                  For example, if tomorrow a homeowner decides to live elsewhere and rent his or her home,
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                                                      13 the instant that the property is rented the Defendants control the duration and circumstances under
                                                      14 which the tenant can retain possession. And the Defendants’ regulations supersede the lease, any
                                                      15 local law to the contrary, and the owner’s consent. In order for this to happen, no documents or
                                                      16 notices need to be filed and no action is required by the Defendant Governments, the owner, or the
                                                      17 renter. The Defendants’ control was self-executing and automatically attached to the property.
                                                      18          Thus, the Government has taken a self-executing easement in every current and future rental
                                                      19 property, granting Defendants instantaneous control over how long a tenant can possess and under
                                                      20 what circumstances the occupant can be excluded. This easement applies to every rental property
                                                      21 in the Defendants’ jurisdictions regardless of any individual facts and circumstances. And rental
                                                      22 property owners are forced to succumb to a tenant’s occupation on the Defendants’ terms and
                                                      23 conditions. Fla. Power Corp., 480 U.S. at 252 (“This element of required acquiescence is at the
                                                      24 heart of the concept of occupation.”).
                                                      25          No rental properties are excepted. Not even other government entities are spared. See
                                                      26 Docket No. 66, Plaintiffs’ Request for Judicial Notice (City of Alameda v. Superior Court of the
                                                      27 State of California, For the County of Alameda, Court of Appeal of the State of California, First
                                                      28 Appellate District, Case No. A165610 (July 14, 2022), wherein the City of Alameda, an owner of

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                                                       1 residential properties, seeks relief from the Defendant County’s eviction moratorium which prevents
                                                       2 the City from evicting certain non-paying tenants).
                                                       3            The Defendants’ eviction regulations are mutable. Reflecting the vested ownership of the
                                                       4 right to possess and exclude, Defendants can unilaterally change the terms and conditions on which
                                                       5 tenants can possess rental property. At present, and for the foreseeable future, the Defendants grant
                                                       6 possession to all tenants, for an indefinite period of time, irrespective of whether they are still paying
                                                       7 rent or otherwise abiding by the lease. To the extent that this grant of possession and exclusion
                                                       8 changes in the future, it will only be because the Defendants, as the owners of this fundamental
                                                       9 property right, have decided to do so. See Cal. Civ. Code § 654 (“The ownership of a thing is the
                                                      10 right of one or more persons to possess and use it to the exclusion of others. In this Code, the thing
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                                                      11 of which there may be ownership is called property.”); see also Horne, 576 U.S. at 362 (“The
                                                      12 Government’s actual taking of possession and control of the reserve raisins gives rise to a taking as
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                                                      13 clearly as if the Government held full title and ownership, as it essentially does.”) (cleaned up); Gen.
                                                      14 Motors Corp., 323 U.S. at 378 (“When the sovereign exercises the power of eminent domain it
                                                      15 substitutes itself in relation to the physical thing in question in place of him who formerly bore the
                                                      16 relation to that thing, which we denominate ownership.”).
                                                      17          The fact that the Defendants’ regulations impact only rental properties, as opposed to every
                                                      18 type of property that exists, does not negate it from being facially unconstitutional. It need only
                                                      19 impact the affected class of properties. See Brief in Opposition of COUNTY, at 28 (Plaintiffs “must
                                                      20 show that it takes all residential rental property”); Loretto, 458 U.S. at 439 (“[w]e fail to see,
                                                      21 however, why a physical occupation of one type of property but not another type is any less a
                                                      22 physical occupation.”).
                                                      23          Nor must the regulation take the entirety of the owner’s right to possess; but, rather, just a
                                                      24 portion of it. See Cedar Point Nursery, 141 S. Ct. at 2069 (a physical taking granting possession
                                                      25 only to union organizers and only for certain time periods); Loretto, 458 U.S. at 421–22 (a physical
                                                      26 taking only with respect to cable companies); Causby, 328 U.S. at 258 (a physical taking only with
                                                      27 respect to miliary aircraft); see also Horne, 576 U.S. at 363 (“The fact that the growers retain a
                                                      28 contingent interest of indeterminate value does not mean there has been no physical taking,

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                                                       1 particularly since the value of the interest depends on the discretion of the taker, and may be
                                                       2 worthless, as it was for one of the two years at issue here.”).
                                                       3           The physical taking also need not be continuous. Cedar Point Nursery, 141 S. Ct. at 2075
                                                       4 (“[W]e have recognized that physical invasions constitute takings even if they are intermittent as
                                                       5 opposed to continuous. Causby held that overflights of private property effected a taking, even
                                                       6 though they occurred on only 4% of takeoffs and 7% of landings at the nearby airport. And while
                                                       7 Nollan happened to involve a legally continuous right of access, we have no doubt that the Court
                                                       8 would have reached the same conclusion if the easement demanded by the Commission had lasted
                                                       9 for only 364 days per year. After all, the easement was hardly continuous as a practical matter.”)
                                                      10 (citations omitted).
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                                                      11           As a final note, whether a regulation is facially unconstitutional is about the taking of a
                                                      12 property right, not the exercise of it. See Cedar Point Nursery, 141 S. Ct. at 2075 (“As Justice
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                                                      13 Brennan observed in dissent [in Nollan], given the shifting tides, ‘public passage for a portion of the
                                                      14 year would either be impossible or would not occur on [the Nollans’] property.’ What matters is not
                                                      15 that the easement notionally ran round the clock, but that the government had taken a right to
                                                      16 physically invade the Nollans’ land. And when the government physically takes an interest in
                                                      17 property, it must pay for the right to do so. The fact that a right to take access is exercised only from
                                                      18 time to time does not make it any less a physical taking.”) (citations omitted).
                                                      19           It is irrelevant whether rental property owners have a specific need or desire to take
                                                      20 possession and exclude tenants. Regardless of what they want, they can’t—as you cannot exercise
                                                      21 a right that you do not own. Here, regardless of the individual circumstances, the property owner
                                                      22 does not own the right to possess and exclude. That right is now owned and controlled by
                                                      23 Defendants.
                                                      24           Whether or not a specific owner would have exercised the right to possess and exclude under
                                                      25 any particular facts and circumstances—had the owner still owned that right—only implicates the
                                                      26 measure of damages for the property right taken, not whether the property right was taken in the first
                                                      27 place.
                                                      28

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                                                       1          Considering the above, the arguments in Opposition by the Defendants and Intervenor are
                                                       2 unpersuasive and inapplicable to the determination of whether these eviction regulations are a facial
                                                       3 physical taking.
                                                       4          Yee has no relevance here. The signing of a lease did not insulate the Defendants from the
                                                       5 consequences of taking fundamental property rights. Nor does the alleged temporary nature of the
                                                       6 Defendants’ regulations preclude them from being facially unconstitutional. As discussed above, a
                                                       7 temporary physical taking and a permanent physical taking are both still takings. If a wayward local
                                                       8 government were to pass a law stating that it could take possession of any private property it wanted,
                                                       9 for any reason it wanted, for free, it would be facially unconstitutional whether that law lasted a year
                                                      10 or a single day.
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                                                      11          The Defendants’ regulations are self-executing and immediately vested in the Defendants the
                                                      12 fundamental property right to possess and exclude for all rental property, now and in the future. And
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                                                      13 as the Defendants’ regulations do not provide for just compensation, they are facially
                                                      14 unconstitutional and contrary to the Fifth Amendment.
                                                      15        B. Defendants’ Eviction Moratoria Are Preempted by the Acts and California Law.
                                                      16          In opposition to Plaintiffs’ preemption argument, Defendants assert that “the Acts expressly
                                                      17 recognize that local governments regulate landlord-tenant relationships and will enact such local
                                                      18 regulation in response to COVID-19.” Brief in Opposition of COUNTY p. 42. This generalized
                                                      19 proclamation is true, as far as it goes. However, the Acts do not permit local governments to enact
                                                      20 regulations in contradiction to those laws, which has occurred here.
                                                      21          As Defendants concede, the Acts only permit local government to enact or amend ordinances
                                                      22 that require “just cause for termination of a residential tenancy, consistent with subdivision (g) of
                                                      23 Section 1946.2 . . . .” Cal. Code of Civ. Proc. § 1179.05(b) (emph. add.). In support of their argument
                                                      24 that the Moratoria are allegedly consistent with Cal. Civ. Code section 1946.2 (“§ 1946.2”),
                                                      25 Defendants rely on AB 1482, a 2019 bill that enacted statewide rent control and the just cause for
                                                      26 eviction protections under § 1946.2. Docket No. 72 at Exhibits D & E. But AB 1482 in fact supports
                                                      27 Plaintiffs, not Defendants. The express purpose of that bill was to prevent landlords “from
                                                      28 dramatically raising their tenants’ rent,” and to “strike a reasonable balance for landlords in cases

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                                                       1 where they must evict a tenant,” by providing a statewide baseline for these matters. Docket No. 72
                                                       2 at Exhibits D p. 2 & E p. 6 (emph. add.). The author further opined that the bill protected tenants
                                                       3 “without diminishing property owners’ ability to make a fair return on their investment or placing
                                                       4 an undue burden on their ability to manage their property.” Docket No. 72 at Exhibit D p. 3
                                                       5 (emph. add.). Thus, to ensure that this statewide rent control and “just cause” baseline was met, the
                                                       6 authors of AB 1482 determined that local ordinances that were “at least as protective of tenants as the
                                                       7 bill” were not preempted by that law.
                                                       8          The authors of AB 1482 did not contemplate, and could not have contemplated, that the next
                                                       9 year, Alameda COUNTY and the CITY of Oakland would enact Moratoria banning virtually all just
                                                      10 cause reasons for evictions, and keep that ban in place for more than two years (and—as recently
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                                                      11 confirmed by the Alameda Board of Supervisors—indefinitely). Docket No. 69 at Exhibit V. The
                                                      12 authors of AB 1482 did not contemplate, and could not have contemplated, that Alameda COUNTY
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                                                      13 and the CITY of Oakland would permit nonpaying renters, breaching renters, and renters who reside
                                                      14 in units that housing providers seek to occupy as their own, to occupy housing providers properties for
                                                      15 an indefinite period without housing providers’ consent. This action thwarts the Legislature’s intent
                                                      16 to protect tenants “without diminishing property owners’ ability to make a fair return on their
                                                      17 investment or placing an undue burden on their ability to manage their property.” Docket No. 72 at
                                                      18 Exhibit D p. 3.
                                                      19          In short, Defendants are incorrect that the Legislature’s purpose in limiting evictions via §
                                                      20 1946.2, by requiring a “just cause” basis, equates to tacit approval of banning all just causes with an
                                                      21 extremely limited exception, as the Moratoria has done here. Also see Cal. Code of Civ. Proc. §
                                                      22 1946.2(g)(1)(B)(ii) [local ordinances’ additional tenant protections may not be “prohibited by any
                                                      23 other provision of law”].         The eviction regulations interfere with the “reasonable balance”
                                                      24 contemplated by the Legislature in enacting § 1946.2 via AB 1482, by expressly conflicting with the
                                                      25
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                                                      28

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                                                       1 purpose and intent of that law, and as subsequently incorporated by the Acts. 1 Cal. Code of Civ. Proc.
                                                       2 § 1179.05(b).
                                                       3            Further, the Acts’ express purpose “is to protect individuals negatively impacted by the
                                                       4 COVID-19 pandemic.” Cal. Code of Civ. Proc. § 1179.05(f). Thus, the Acts set forth a statewide
                                                       5 scheme to protect housing providers from the unquestionable harm inflicted by the nonpaying tenants
                                                       6 allegedly affected by Covid-19. As explained by the Legislature:
                                                       7
                                                                    At their core, those [Acts’] policies now consist of two components: (1) legal
                                                       8            protections against eviction for nonpayment of rent; and (2) an emergency rental
                                                                    assistance program (ERAP) to compensate landlords for that unpaid rent. Since
                                                       9            October 2021, these two components have been linked: landlords may proceed to
                                                                    evict tenants who have failed to pay rent, but only after properly demonstrating to the
                                                      10
                                                                    court that they unsuccessfully attempted to obtain emergency rental assistance to
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                                                      11            cover the debt owed to them.

                                                      12 Docket No. 72 at Exhibit C p. 1. The Moratoria’s reach goes far beyond protecting individuals
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                                                      13 negatively impacted by the pandemic. Indeed, the Moratoria is completely untethered to Covid-19
                                                      14 and the emergency that it caused. Renters and occupants in the CITY and COUNTY need not show
                                                      15 any Covid-19 related financial distress to qualify for protection from eviction. Moreover, in conflict
                                                      16 with California law, those individuals that might qualify for protection need not participate in any
                                                      17 rent relief program to avoid eviction for nonpayment under the Moratoria. Docket No. 62 Exhibits
                                                      18 E pp. 4-5 and H [ACCO § 6.120.030]. The Moratoria also protect non-Covid-19 affected renters
                                                      19 and occupants from eviction even when they damage, and commit nuisances on, housing providers’
                                                      20 properties. Ibid.
                                                      21            And contrary to Defendants, the Covid-19 evictions controls are a “statewide concern,” as

                                                      22 expressly provided by the Acts. That the legislative statement is made in the context of applying the
                                                      23 Acts to charter cities, only amplifies this point; the “home rule” of charter cities only prevails over
                                                      24 state law when that issue is a municipal concern. See e.g., City of El Centro v. Lanier, 245
                                                      25
                                                           1   Simply because the COUNTY placed their moratorium in the text of Alameda’s health and safety
                                                      26 administrative code, rather than in another section (the COUNTY doesn’t even have a rent control
                                                      27 ordinance), does not mean they can avoid the Acts’ preemptive effect—neither do they cite any
                                                           authority that would support this specious claim.
                                                      28

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                                                       1 Cal.App.4th 1494, 1501 (2016). If it is a statewide concern, as the Covid-19 eviction controls
                                                       2 expressly are here, the “home rule” does not apply, and the state law controls over the local law.
                                                       3 Ibid.
                                                       4           Defendants additionally argue that eviction controls need not be regulated with “statewide
                                                       5 uniformity,” citing Roble Vista Associates v. Bacon, 97 Cal.App.4th 335 (2002). First, Plaintiffs
                                                       6 have not and do not argue that such controls must be “uniform” statewide. Instead, Plaintiffs’
                                                       7 position is that the adverse effect of the Moratoria “on the transient citizens of the state outweighs
                                                       8 the possible benefit to the locality.” Sherwin–Williams Co. v. City of Los Angeles, 4 Cal.4th 893,
                                                       9 898 (1993). As explained in Plaintiffs’ opening papers, the Moratoria penalize and damage housing
                                                      10 providers throughout the state that own rental properties in the CITY and COUNTY. Defendants
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                                                      11 do not provide any viable justification for why Oakland and Alameda County require such onerous
                                                      12 measures to control Covid-19, as opposed to other urban areas of the state (where no such controls
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                                                      13 exist).
                                                      14           Governor Newsom recently confirmed through his June 2022 Executive Order that
                                                      15 conditions related to the pandemic have vastly improved, rolling back even further prior Covid-19
                                                      16 Executive Orders, and essentially leaving testing, vaccination, and support for hospitals as priorities
                                                      17 in California’s SMARTER Plan.2 Docket No. 72 at Exhibit H. The damage done to the transient
                                                      18 citizens of California via the Moratoria’s crushing burden on the state’s housing providers (including
                                                      19 those in the COUNTY and the CITY) therefore heavily outweighs any benefit to Defendants.
                                                      20           Second, the local ordinance in Roble Vista Associates was not preempted by state law
                                                      21 because it governed terms of leases and there was no state statute that governed that same subject
                                                      22 matter. Roble Vista Associates, Cal.App.4th at 341-343. Thus, the Court held it was neither
                                                      23 expressly nor impliedly preempted. Ibid. Here, in stark contrast, there is a state statute scheme
                                                      24 specifically regulating eviction controls. “The [implied preemption] test is the breadth of the area
                                                      25 which the Legislature sought to preempt by its own comprehensive scheme of regulation” and local
                                                      26 regulation may be preempted when it “changes the statewide chronology to suit its own agenda.”
                                                      27
                                                      28
                                                             2 https://www.gov.ca.gov/2022/06/17/governor-newsom-continues-to-roll-back-covid-19-
                                                             executive-orders/
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                                                       1 Tri Cnty. Apartment Assn. v. City of Mountain View, 196 Cal.App.3d 1283, 1296 (1987) (inter. quot.
                                                       2 omit.). As detailed above, the eviction regulations conflict with the California Legislature’s intent
                                                       3 to strike a careful balance between protecting housing providers and renters alike, “to suit
                                                       4 [Defendants’] own agenda.” Ibid.
                                                       5           Defendants next claim that the Acts’ section expressly preempting certain categories of
                                                       6 ordinances based on dates of enactment, means that the Moratoria cannot be impliedly preempted. See
                                                       7 e.g., Cal. Code of Civ. Proc. § 1179.05(a)(1). But they gloss over the fact that the Acts that also
                                                       8 expressly state that local ordinances must be consistent with § 1946.2. Cal. Civ. Code § 1179.05(b).
                                                       9 As explained above, the Moratoria are not. Moreover, the cases Defendants rely upon support
                                                      10 Plaintiffs, not Defendants. For example, in Big Creek Lumber Co. v. Cty. of Santa Cruz, 38 Cal.4th
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                                                      11 1139 (2006) (“Big Creek Lumber”) the Court confirmed that: “In determining whether the Legislature
                                                      12 has preempted by implication to the exclusion of local regulation we must look to the whole purpose
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                                                      13 and scope of the legislative scheme.” Big Creek Lumber, 38 Cal.4th at 1157 (intern. quot. omit).
                                                      14 Here, the eviction regulations plainly conflict with that legislative scheme by upsetting the balance the
                                                      15 Legislature intended to create through §1946.2 and the Acts’ incorporation of that section.
                                                      16           Defendants’ reliance on a Los Angeles Superior Court’s Appellate Division case, Arche v.
                                                      17 Scallion, No. 21LBUD00480, at *4-7 (Cal. Super. Ct., App. Div., Aug. 1, 2022), is also unavailing.
                                                      18 That case only focused on whether a local ordinance that temporarily prohibited “no fault” evictions
                                                      19 was preempted by the Acts—the focus was not on all evictions, for an indefinite period of time, like
                                                      20 here. (More importantly, that appellate division case is not binding on this Court or any Court other
                                                      21 than the Los Angeles County trial courts.) The other cases Defendants cite are similarly
                                                      22 distinguishable; they do not discuss the preemptive effect of local government banning virtually all
                                                      23 evictions for more than two years, with no end in sight based on an emergency where the regulations
                                                      24 extend far beyond the current state of that emergency. See e.g. Brief in Opposition of COUNTY pp.
                                                      25 42, citing Apartment Ass’n of Los Angeles Cnty, Inc. v. City of Los Angeles, 10 F.4th 905 (2021)
                                                      26 [contracts clause analysis only]; Birkenfeld v. City of Berkeley, 17 Cal.3d 129, 152 (1976) [local
                                                      27 requirement that a landlord obtain a “certificate of eviction” preempted by unlawful detainer
                                                      28 statutes]; People ex. rel. Deukmejian v. County of Mendocino, 36 Cal.3d 476 (1984) [analysis of

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                                                       1 whether local regulation of aerial application of herbicides was preempted]; Fisher v. City of
                                                       2 Berkeley (1984) 37 Cal.3d 644 [local regulation did not conflict with state statute simply because it
                                                       3 imposed restraints that state statute did not].
                                                       4           And these cases certainly do not support the extension of local authority that has occurred
                                                       5 here. For example, Birkenfeld only addressed elimination of grounds for eviction for those tenants
                                                       6 who were “in good standing.” Birkenfeld, 17 Cal.3d at 136, 148, 152 (emph. add.). When the Court
                                                       7 in Birkenfeld made this distinction, it confirmed that the Berkeley rent ordinance contained “most if
                                                       8 not all of the grounds [for eviction] that would otherwise be available . . . .” Birkenfeld, 17 Cal.3d
                                                       9 at 148 (emph. add.). That is, if the tenant remained in good standing, there was no substantive basis
                                                      10 to evict. Under the Moratoria, this rationale no longer applies. Removing all just causes from
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                                                      11 eviction but for a narrow exception is neither permitted nor contemplated by any of Defendants’
                                                      12 case law.
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                                                      13           Finally, the COUNTY claims that it complied with § 1946.2(g)’s requirement that “[t]he local
                                                      14 government has made a binding finding within their local ordinance that the ordinance is more
                                                      15 protective than the provisions of this section” through a generalized, cursory statement in its eviction
                                                      16 regulations. Brief in Opposition of COUNTY pp. 43-44.                  This statement falls short of the
                                                      17 requirement under § 1946.2, and the COUNTY’s reliance on Arche, 2022 WL 3650703, at *4-5 does
                                                      18 not save it from complying with this subdivision. The local government in Arche made express
                                                      19 findings during its legislative enactment of the ordinance at issue that it was more protective than §
                                                      20 1946.2. Arche, 2022 WL 3650703, at *4-5. Thus, the Court in Arche held that these findings were
                                                      21 implied in the actual ordinance. Ibid. Here, the COUNTY fails to point to any such findings—either
                                                      22 in the legislative process or the actual language of its eviction regulations. Thus, § 1946.2 controls
                                                      23 over the COUNTY’s regulations for this additional reason. Code of Civ. Proc. § 1946.2(g)(1)(B).
                                                      24           In sum, the Moratoria’s ban on virtually all evictions—for cause and not for cause—expressly
                                                      25 and impliedly conflict with Acts’ requirement that a local ordinance be consistent with § 1946.2 and
                                                      26 its careful scheme set forth to balance the potential harm to housing providers because of their renters’
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                                                       1 nonpayment of rent. 3 It is therefore not “reasonably possible to comply with both the state and local
                                                       2 laws.” The Court should therefore find the Moratoria preempted. American Financial Services Ass’n
                                                       3 v. City of Oakland, 34 Cal.4th 1239 (2005); also see Larson v. CCSF, 192 Cal.App.4th 1263, 1280
                                                       4 (2002).
                                                       5          C. The Moratoria Violate the California Election Code.
                                                       6          1. The COUNTY is Incorrect that its Moratorium Did Not “Amend” the CITY’s Just
                                                       7             Cause for Eviction Ordinance.
                                                                   In claiming that its eviction regulations did not amend the CITY’s Just Cause for Eviction
                                                       8
                                                       9 Ordinance, the COUNTY asserts it had the police power to enact its moratorium under the Emergency
                                                      10 Services Act (“ESA”). But the COUNTY’s emergency powers under the ESA require the COUNTY
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                                                      11 to terminate the local emergency “at the earliest possible date that conditions warrant.” Cal. Gov.
                                                      12 Code § 8690. The COUNTY has refused to do so—even though it admits conditions related to the
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                                                      13 pandemic have vastly improved. Docket No. 62 Exhibits J ¶ 48 and K ¶ 48; In re Juan C. (1994) 28
                                                      14 Cal.App.4th 1093, 1101 [finding local curfew imposed under ESA constitutional because it was
                                                      15 imposed “only so long as an emergency exists”]; also see Docket No. 72 at Exhibit H [Executive
                                                      16 order describing California’s SMARTER plan, and rolling back even further protections related to
                                                      17 Covid-19.].
                                                                   Further, the COUNTY’s police power under the ESA or otherwise does not permit it to regulate
                                                      18
                                                      19 in conflict with state law. Cal. Const., art. XI, § 7. Birkenfeld, 17 Cal.3d at 140.
                                                      20             Emergency does not create power. Emergency does not increase granted power or
                                                                     remove or diminish the restrictions imposed upon power granted or reserved ....
                                                      21             What power was thus granted and what limitations were thus imposed are questions
                                                      22             which have always been, and always will be, the subject of close examination under
                                                                     our constitutional system.
                                                      23
                                                           Home Bldg. & Loan Ass 'n v. Blaisdell 290 U.S. 398, 425-26 (1934). The COUNTY has unlawfully
                                                      24
                                                           eviscerated the voters’ Just Cause for Eviction Ordinance on the basis of a 2020 emergency, which
                                                      25
                                                      26
                                                             3
                                                               The County’s repeated reference to non-payment evictions covered by Alameda County Code
                                                      27     section 6.120.040 are misleading. This section has no affect during the County’s blanket
                                                      28     moratorium under section 6.120.030, which prohibits evictions for nonpayment all together.
                                                             Docket No. 62 Exhibit H.
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                                                       1 no longer resembles the current state of affairs. Docket No. 62 Exhibits J ¶ 48 and K ¶ 48; Docket
                                                       2 No. 72 at Exhibit H.
                                                       3           The COUNTY is incorrect in claiming that state election law does not apply to it. DeVita v.
                                                       4 Cnty. of Napa, 9 Cal.4th 763, 789 (1995) [Because of the presumption in favor of the right of
                                                       5 initiative, “restrictions on the right are not read into the statutes.”]; Cal. Elec. Code §§ 9125, 9217.
                                                       6 Courts are bound to liberally construe the voters’ rights under the state Election Code, because these
                                                       7 are “one of the most precious rights of our democratic process.” Associated Home Builders etc., Inc.
                                                       8 v. City of Livermore, 18 Cal.3d 582, 591 (1976).
                                                       9           The COUNTY separately argues that its moratorium “doesn’t purport to amend” the CITY’S
                                                      10 Just Cause for Eviction Ordinance. But neither is this inquiry as literal as the COUNTY would have
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                                                      11 it. “One does not determine whether an act amends existing law solely by the title, or by statements
                                                      12 in the new act that it amends existing law. Rather, one must examine and compare the provisions of
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                                                      13 the new law with existing law.” Mobilepark W. Homeowners Assn. v. Escondido Mobilepark W.,
                                                      14 35 Cal.App.4th 32, 40 (1995). The County’s ongoing and indefinite ban on virtually all evictions
                                                      15 plainly prohibits any housing provider in the CITY from evicting a renter for just cause under OMC
                                                      16 § 8.22.360, and therefore violates rights created by that ordinance and state election law.
                                                      17               2. The CITY Ignores the Narrow Scope of the COUNCIL’s Permissible
                                                      18                  Amendment.
                                                                   While the CITY claims its moratorium lawfully amended its Just Cause for Eviction
                                                      19
                                                           Ordinance within the permissible scope, it fails to address the narrow description of that scope. As
                                                      20
                                                           indicated by the CITY’s legal counsel, acceptable types of eviction limitations imposed by the
                                                      21
                                                           COUNCIL are things such as “providing proper notice,” and mandating compliance with other such
                                                      22
                                                           “rules and standards.” Docket No. 62 at Exhibit M. The CITY’s moratorium far surpasses what the
                                                      23
                                                           voters could possibly have contemplated by striking its Just Cause for Eviction Ordinance altogether.
                                                      24
                                                                   The Court should therefore find the Moratoria unlawfully amends a voter enacted initiative
                                                      25
                                                           ordinance and is therefore void on this basis. The Court should issue a writ and declaration ordering
                                                      26
                                                           the same.
                                                      27
                                                            //
                                                      28

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                                                                   D. Plaintiffs Assert Constitutional Property Interests in the Due Process Context and
                                                       1              the Moratoria’s Absolute Defense to Virtually All Evictions Unlawfully Allows
                                                                      Renters to be Judges in Their Own Case.
                                                       2
                                                                     Defendants’ attempt to distinguish this case from Chrysafis v. Marks, 141 S.Ct. 2482 (2021)
                                                       3
                                                           (“Chrysafis”) is unpersuasive. First, Plaintiffs have not “voluntarily ceded” their property and rights
                                                       4
                                                           attendant thereto to renters, as explained above in section A. Indeed, the Supreme Court’s holding in
                                                       5
                                                           Chrysafis directly contradicts this contention. Second, the CITY’s claim that Plaintiffs and housing
                                                       6
                                                           providers do not have a protected property interest in their real property, or the rents they receive for
                                                       7
                                                           that property, is absurd. The CITY’s case for this position, Fed. Home Loan Mortg. Corp. v. SFR
                                                       8
                                                           Invs. Pool 1, LLC, 893 F.3d 1136, 1147 (9th Cir. 2018), is not on point. Fed. Home Loan Mortg.
                                                       9
                                                           Corp. involved a claimed property interest in purchasing foreclosed properties at these sales “with
                                                      10
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                                                           free and clear title” pursuant to a state statute that allegedly required so. Rejecting that argument,
                                                      11
                                                           the Court held that not only did that state statute not require a purchaser receive free and clear title,
                                                      12
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                                                           but that statute was preempted by federal law. Thus, there was no protected property interest at
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                                                      13
                                                           stake.
                                                      14
                                                                     Here, Plaintiffs and housing providers throughout the CITY and COUNTY already own their
                                                      15
                                                           properties, and rented them in reliance on the right to continue receiving rents prior to the
                                                      16
                                                           Moratoria’s enactment. 4 Both rental income and real property are undisputedly protected property
                                                      17
                                                           interests in the due process context, and Defendants make no effort to distinguish Plaintiffs’ authority,
                                                      18
                                                           which is directly on point:
                                                      19
                                                      20             The Government does not, and could not, dispute that the seizure of [defendant’s]
                                                                     home and 4-acre parcel deprived him of property interests protected by the Due
                                                      21             Process Clause . . . .
                                                                     [T]he seizure of his home deprived [defendant] of valuable rights of ownership,
                                                      22
                                                                     including the right of sale, the right of occupancy, the right to unrestricted use and
                                                      23             enjoyment, and the right to receive rents. All that the seizure left him, by the
                                                                     Government’s own submission, was the right to bring a claim for the return of title at
                                                      24             some unscheduled future hearing . . . .
                                                      25
                                                      26
                                                           4
                                                               A housing provider’s right to rent is central to the landlord-tenant relationship. Meyer v. Parobek
                                                      27 119 Cal.App.2d 509, 513 (1953); San Jose Parking, Inc. v. Superior Court, 110 Cal.App.4th 1321,
                                                      28 1328, as modified on denial of reh’g (Aug. 28, 2003) [“fundamental attribute of a lease” is “the
                                                           payment of rent”].
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                                                                   The constitutional limitations we enforce in this case apply to real property in general,
                                                       1
                                                                   not simply to residences . . .
                                                       2 U.S. v. James Daniel Good Real Prop., 510 U.S. 43, 49, 54-55, 61 (1993).
                                                       3          The Moratoria deprive Plaintiffs and housing providers of these protected property rights
                                                       4 without due process by giving renters an “absolute defense” to virtually all eviction proceedings—for
                                                       5 any reason that renter decides at all. And contrary to Defendants, this is a far cry from the “temporary”
                                                       6 deprivation described in the Connecticut District Court case Auracle Homes, LLC v. Lamont, 478
                                                       7 F.Supp.3d 199 (D. Conn. 2020). The eviction moratorium analyzed in Auracle Homes, LLC was in
                                                       8 place for six months, from March 2020 to August 2020. Auracle Homes, LLC, 478 F. Supp. 3d at
                                                       9 227 [“the Executive Orders only delay Plaintiffs’ ability to initiate evictions . . . .”]; also see Farhoud
                                                      10 v. Brown, No. 3:20-CV-2226-JR, 2022 WL 326092, at *12 (D. Or. Feb. 3, 2022) [describing eviction
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                                                      11 controls as only causing “delay”].
                                                      12
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                                                                  Here, we are now approaching 2023, and despite the pandemic now being considered
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                                                      13 endemic, the COUNTY’S Board of Supervisors recently refused to even consider revising or
                                                      14 repealing its moratorium. See Docket Nos. 66 and 69. The logical inference of the Board’s refusal
                                                      15 to reconsider the scope of its moratorium is that it is indefinite. The CITY has also refused to
                                                      16 consider modifying its moratorium. That is, the Moratoria will only end at the political whims of
                                                      17 the administrative bodies that control them. In short—the Moratoria are not temporary and they do
                                                      18 not just “delay” Plaintiffs and housing providers rights; they have been in place for over two years,
                                                      19 and there is no end in sight. Auracle Homes, LLC, 478 F. Supp. 3d at 227 [distinguishing a
                                                      20 moratorium that might “eradicate all future opportunity for Plaintiffs to pursue evictions”].
                                                      21         Next, Defendants claim the Moratoria will not “create[] any risk of erroneous deprivation” of
                                                      22 the property interests. This is incorrect. As detailed in Plaintiffs’ opening papers, the Moratoria’s
                                                      23 “absolute defense” to virtually all evictions unlawfully permits renters to be the “judge” in their own
                                                      24 case, and housing providers are left without any judicial mechanism to challenge that determination.
                                                      25 Also see Docket No. 66 at Exhibit U. Defendants’ attempt to distinguish Chrysafis from this case,
                                                      26 by claiming the Moratoria’s “absolute defense” is substantively different from Chrysafis’
                                                      27 “irrebuttable presumption” similarly fails. In all cases where housing providers seek to evict—for
                                                      28 nonpayment, nuisance, or otherwise—they are barred from any process; the renter is given the sole

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                                                       1 authority to control this process. That result is an erroneous deprivation of procedural due process as
                                                       2 a matter of law, because the Moratoria “are shaped by the risk of error inherent in the truth-finding
                                                       3 process . . . .” Mathews v. Eldridge, 424 U.S. 319, 344 (1976); also see Chrysafis v. Marks, 141 S.
                                                       4 Ct. 2482 (2021).
                                                       5             Finally, Defendants’ alternatively claim that Plaintiffs do not have a right to challenge the
                                                       6 Moratoria on due process grounds on the basis that the Moratoria affects a “large” area. This also
                                                       7 fails under Chrysafis; the enjoined eviction controls in that case affected the entire state of New
                                                       8 York. Chrysafis, 141 S.Ct. at 2482 [citing United States v. James Daniel Good Real Property, 510
                                                       9 U.S. 43, 53, confirming that controls at issue were enjoined on the basis that “due process generally
                                                      10 requires a hearing”]. Defendants’ cases for this point are distinguishable because Plaintiffs do not
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                                                      11 challenge “the process by which” the Moratoria were reached; they challenge the substance of the
                                                      12 Moratoria themselves. See Briefs in Opposition of Defendants and Intervenor, citing Halverson v.
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                                                      13 Skagit Cnty., 42 F.3d 1257, 1260 (9th Cir. 1995) [plaintiffs challenged process by which decision
                                                      14 was reached, not the substance of the decision itself]; Hotel & Motel Ass'n of Oakland v. City of
                                                      15 Oakland, 344 F.3d 959, 970 (9th Cir. 2003) [same]; Sierra Lake Rsrv. v. City of Rocklin, 938 F.2d
                                                      16 951, 957 (9th Cir. 1991) [same]; Aiuto v. San Francisco's Mayor's Off. of Hous., No. C 09-2093 CW,
                                                      17 2010 WL 1532319, at *8 (N.D. Cal. Apr. 16, 2010) [same]; Best Supplement Guide, LLC v. Newsom,
                                                      18 No. 20-17362, 2022 WL 2703404, at *2 (9th Cir. July 12, 2022) [same]. 5
                                                      19             The Moratoria deprive housing providers of a hearing for virtually any type of eviction, in
                                                      20 violation of their due process. The Court should therefore enjoin the Moratoria. Chrysafis, 141 S. Ct.
                                                      21 at 2482.
                                                      22    III.      CONCLUSION
                                                      23            Pursuant to the above, the Court should grant this motion and (1) issue a declaration finding
                                                      24 the Moratoria are an unconstitutional physical takings and/or a violation of procedural due process,
                                                      25 and allow Defendants the opportunity to rescind the Moratoria to mitigate their damages; (2)
                                                      26 preliminary or permanently enjoin the Moratoria as violations of procedural due process; and/or (3)
                                                      27
                                                      28    5
                                                                Defendants’ reliance on Block is also not on point, as is detailed above in section A.
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                                                      1 issue an order and writ of mandate under Cal. Civ. Proc. Code § 1085 finding the Moratoria
                                                      2 inconsistent with, and in violation of, California law.
                                                      3
                                                      4 Dated:     September 13, 2022       ZACKS, FREEDMAN & PATTERSON, PC
                                                      5
                                                                                             /s/ Andrew M. Zacks
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                                                                                            PACIFIC LEGAL FOUNDATION
                                                      11
                                                      12                                     /s/ Jonathan M. Houghton
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                                                      26
                                                      27
                                                      28

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                                                                                              PROOF OF SERVICE
                                                      1        United States District Court—Northern District of California- Case No.: 3:22-cv-01274-LB
                                                      2
                                                           I, Angelica Nguyen, declare that:
                                                      3
                                                           I am employed in the County of San Francisco, State of California. I am over the age of 18, and am
                                                      4    not a party to this action. My business address is 601 Montgomery Street, Suite 400, San
                                                           Francisco, California 94111.
                                                      5
                                                      6    On September 13, 2022, I served:

                                                      7    PLAINTIFFS’ AND PETITIONERS’ COMBINED REPLY IN SUPPORT OF RULE 56
                                                           MOTION ON BIFURCATED CLAIMS
                                                      8
                                                      9    in said cause addressed as follows:
                                                            PACIFIC LEGAL FOUNDATION                                   MARC SELTZER
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                                                            3100 Clarendon Blvd., Suite 610                            GLENN C. BRIDGMAN
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                                                            Rogers, Michael Loeb, Jacqueline Watson-Baker,             Alliance of Californians for Community
                                                      17    Housing Providers of America                               Empowerment Action
                                                            MATTHEW D. ZINN                                            BARBARA J. PARKER
                                                      18    EDWARD T. SCHEXNAYDER                                      MARIA BEE
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                                                      23    Attorney for Alameda County and Alameda County             City Council
                                                            Board of Supervisors
                                                      24
                                                           /XX/ (BY ELECTRONIC SERVICE) Based on a court order or an agreement of the parties to
                                                      25   accept electronic service, I caused the said document to be served electronically through the
                                                           CM/ECS System.
                                                      26
                                                      27   I declare under penalty of perjury under the laws of the State of California that the foregoing is true
                                                           and correct. Executed on September 13, 2022 at San Francisco, California.
                                                      28
                                                                                                                      __________________________________
                                                                                                                                     ANGELICA NGUYEN


                                                                                                       PROOF OF SERVICE
                                                                                                              -1-
